                                           Case 5:17-cv-00447-NC Document 39 Filed 06/29/17 Page 1 of 1




                                  1
                                  2
                                  3
                                  4
                                  5
                                  6
                                  7                                 UNITED STATES DISTRICT COURT
                                  8                            NORTHERN DISTRICT OF CALIFORNIA
                                  9
                                  10     YAHOO! INC.,
                                                                                          Case No. 17-cv-00447 NC
                                  11                   Plaintiff,
                                                                                          JUDGMENT
                                                 v.
Northern District of California




                                  12
 United States District Court




                                  13     NATIONAL UNION FIRE
                                         INSURANCE COMPANY OF
                                  14     PITTSBURGH, PA,
                                  15                   Defendant.
                                  16
                                  17          In accordance with the Court’s June 2, 2017, order granting defendant’s motion to
                                  18   dismiss with leave to amend, and plaintiff’s subsequent request that the Court enter
                                  19   judgment in this case, judgment is entered in favor of defendant and against plaintiff with
                                  20   respect to all claims asserted in the complaint.
                                  21          The clerk is ordered to terminate case no. 17-cv-00447 NC.
                                  22
                                  23          IT IS SO ORDERED.
                                  24
                                  25   Dated: June 29, 2017                       _____________________________________
                                                                                        NATHANAEL M. COUSINS
                                  26                                                    United States Magistrate Judge
                                  27
                                  28
                                       Case No. 17-cv-00447 NC
